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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

--------------------------------------------------------------------X

SUSAN WEINSTEIN, et al.,

                                  Plaintiffs,                           Docket No: 18-cv-1691

                          -against-
                                                                        Hon. Matthew F. Kennelly
THE ISLAMIC REPUBLIC OF IRAN, et al.,

                                  Defendants.

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                                  NOTICE OF EX PARTE MOTION

         PLEASE TAKE NOTICE that on March 11, 2018 the undersigned filed with the Clerk

for the U.S. District Court for the Northern District of Illinois, Eastern Division, 219 S. Dearborn

Street, Chicago, Illinois, the attached Ex Parte Motion Pursuant to Fed. R. Civ. P. 4.1 to Appoint

a Special Process Server, which shall be heard on March 20, 2018 at 9:30 a.m. before the

Honorable Matthew F. Kennelly

Dated:    Brooklyn, New York
          March 11, 2018
                                                             Respectfully submitted,

                                                             THE BERKMAN LAW OFFICE, LLC
                                                             Attorneys for the Plaintiffs


                                                             by:
                                                                   Robert J. Tolchin

                                                             111 Livingston Street, Suite 1928
                                                             Brooklyn, New York 11201
                                                             718-855-3627
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                                   CERTIFICATE OF SERVICE


        The undersigned hereby certifies that on the date indicated below a true copy of the foregoing
was served via ECF on all counsel of record herein:


Dated:   Brooklyn, New York
         March 11, 2018

                                                       Robert J. Tolchin




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